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                    UNITED STATES COURT OF APPEALS                      FILED
                           FOR THE NINTH CIRCUIT                         JAN 20 2022
                                                                     MOLLY C. DWYER, CLERK
                                                                      U.S. COURT OF APPEALS
UNITED STATES OF AMERICA,                       No.   20-10404

                Plaintiff-Appellant,            D.C. Nos.
                                                4:14-cr-02058-RCC-DTF-1
 v.                                             4:14-cr-02058-RCC-DTF-2
                                                4:14-cr-02058-RCC-DTF
ROBERT C. OSBORNE,                              District of Arizona,
                                                Tucson
                Defendant-Appellee.
                                                ORDER

Before: WARDLAW, BRESS, and BUMATAY, Circuit Judges.

       The motion of appellee’s counsel, Amy B. Krauss, Esq., to terminate her

representation under the Criminal Justice Act, effective September 1, 2021, and be

substituted as appellee’s retained counsel is granted. See Dkt. 68. The Clerk will

amend the docket to reflect that counsel Krauss is appellee’s retained counsel.
